                                                                                      Case 8:15-cv-00688-CJC-DFM Document 21 Filed 07/01/15 Page 1 of 4 Page ID #:125


                                                                                  1 TUCKER ELLIS LLP
                                                                                    Howard A Kroll - SBN 100981
                                                                                  2 howard.kroll@tuckerellis.com
                                                                                    515 South Flower Street
                                                                                  3 Forty-Second Floor
                                                                                    Los Angeles, CA 90071-2223
                                                                                  4 Telephone:      213.430.3400
                                                                                    Facsimile:      213.430.3409
                                                                                  5
                                                                                    Attorneys for Plaintiff
                                                                                  6 VERRAGIO, LTD
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                                                                                  9                         UNITED STATES DISTRICT COURT
                                                                                 10                        CENTRAL DISTRICT OF CALIFORNIA
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




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                                                                                 13 VERRAGIO, LTD
TUCKER ELLIS LLP




                                                                                                                               )   Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                               )
                                                                                 14               Plaintiff,                   )
                                                                                                                               )   PLAINTIFF’S NOTICE OF
                                                                                 15            v.                              )   APPLICATION AND APPLICATION
                                                                                                                               )   FOR DEFAULT JUDGMENT BY
                                                                                 16 KIEU HANH JEWELRY,                         )   COURT
                                                                                                                               )
                                                                                 17              Defendant.                    )   DATE:      August 3, 2015
                                                                                                                               )   TIME:      1:30 p.m.
                                                                                 18                                            )   CTRM:      9B
                                                                                                                               )
                                                                                 19                                            )   Hon. Cormac J. Carney
                                                                                                                               )
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                                                                                  1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
                                                                                  2 PLEASE TAKE NOTICE THAT on Monday, August 3, 2015, at 1:30 p.m. or as soon
                                                                                  3 thereafter as this matter may be heard before the Honorable Cormac J. Carney,
                                                                                  4 Courtroom 9B of the United States District Court for the Central District of California,
                                                                                  5 411 West Fourth Street, Santa Ana, California 92701, Plaintiff Verragio, Ltd.
                                                                                  6 (“Verragio”) will present its application for a default judgment against Defendant Kieu
                                                                                  7 Hanh Jewelry (“Kieu Hanh”). The clerk previously entered the default of Kieu Hanh on
                                                                                  8 June 3, 2015.
                                                                                  9            At the time and place of hearing, Verragio will present proof of the following
                                                                                 10 matters:
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                                                                                 11            1.    As a company selling jewelry in Westminster, California, Kieu Hanh is not a
                                                                                 12 minor or incompetent person or in military service or otherwise exempted under the
                                                                                 13 Soldiers’ and Sailors’ Civil Relief Act of 1940;
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                                                                                 14            2.    Verragio is entitled to judgment against Kieu Hanh on account of the claims
                                                                                 15 pleaded in the complaint, namely:
                                                                                 16                  (a)     Copyright Infringement – Kieu Hanh has sold unauthorized rings that
                                                                                 17 are infringing copies of Verragio’s licensed Insignia-7003 design (Copyright Registration
                                                                                 18 No. VAu 996-688) in violation of 17 U.S.C. §§ 101, et seq.;
                                                                                 19                  (b)     Willful Copyright Infringement – Kieu Hanh was aware that its
                                                                                 20 conduct constituted copyright infringement and still proceeded with its infringing
                                                                                 21 activities;
                                                                                 22            3.    The amount of judgment sought is the sum of $163,245 as set forth in
                                                                                 23 Verragio’s memorandum of points and authorities and the declaration of Howard A.
                                                                                 24 Kroll. This amount includes:
                                                                                 25                  (a)     $150,000 in statutory damages for Verragio’s licensed copyrighted
                                                                                 26 Insignia-7003          ring   design   that   was       willfully   infringed,   as   authorized   by
                                                                                 27 17 U.S.C. § 504(c); and
                                                                                 28                  (b)     an award of attorneys’ fees and costs in the amount of $13,245.

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                                                                                  1            4.   Verragio seeks a permanent injunction enjoining and restraining Kieu Hanh
                                                                                  2 and its respective agents, servants, employees, successors and assigns, and all other
                                                                                  3 persons acting in concert with or in conspiracy with or affiliated with Kieu Hanh, from
                                                                                  4 copying, reproducing, manufacturing, duplicating, disseminating, distributing, or using
                                                                                  5 copies of Verragio’s licensed Insignia-7003 design.
                                                                                  6            5.   Verragio further seeks an Order that all infringing copies of jewelry, and all
                                                                                  7 molds by which such infringing jewelry was produced, be seized, impounded and
                                                                                  8 destroyed.
                                                                                  9
                                                                                 10            This Application is based on this Notice, the accompanying memorandum of
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                                                                                 11 points and authorities, the declarations of Barry Nisguretsky and Howard A. Kroll, the
                                                                                 12 pleadings and papers on file, and such further written or oral evidence or arguments as
                                                                                 13 the Court permits.
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                                                                                 15 DATED: July 1, 2015                            Respectfully submitted,
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                                                                                                                                   Tucker Ellis LLP
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                                                                                 18
                                                                                                                                   By:    /s/Howard A. Kroll
                                                                                 19                                                       Howard A Kroll
                                                                                 20                                                       howard.kroll@tuckerellis.com
                                                                                                                                          Attorneys for Plaintiff
                                                                                 21                                                       VERRAGIO, LTD

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                                                                                 1                                   CERTIFICATE OF SERVICE
                                                                                 2
                                                                                               I certify that on July 1, 2015, a true and correct copy of the foregoing was filed
                                                                                 3
                                                                                       with the Court and served electronically.          The Notice of Electronic Case Filing
                                                                                 4
                                                                                       automatically generated by the system and sent to all parties entitled to service under the
                                                                                 5
                                                                                       Federal Rules of Civil Procedure and the Local Rules of the Central District of California
                                                                                 6
                                                                                       who have consented to electronic service shall constitute service of the filed document to
                                                                                 7
                                                                                       all such parties.
                                                                                 8
                                                                                               I further certify that the following party was served by U.S. Mail:
                                                                                 9
                                                                                 10                                        Kieu Hanh Jewelry
                                                                                                                      9131 Bolsa Avenue, Suite 203
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                                                        Westminster, CA 92683
                                                                                 12
                                                                                 13
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                                                                                               I declare that I am employed by a member of the bar of this Court, at whose
                                                                                 14
                                                                                       direction this service was made.
                                                                                 15
                                                                                               Executed on July 1, 2015 at Los Angeles, California.
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                                                                                 18
                                                                                                                                             /s/Susan Lovelace
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